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Joshua Trigsted
Oregon State Bar ID Number 06531
Trigsted Law Group, P.C.
5200 SW Meadows Rd, Ste 150
Lake Oswego, OR 97035
888-247-4126, ext. # 1
866-927-5826 facsimile
Josh@TLGconsumerlaw.com
Attorney for Plaintiff


                           UNITED STATES DISTRICT COURT
                               DISTRICT OF OREGON
                                PORTLAND DIVISION

CRYSTAL BEHRENS,                                 Case No.: 3:18-cv-1875
              Plaintiff,                         COMPLAINT;
      vs.                                        FAIR DEBT COLLECTION PRACTICES
                                                 ACT (15 U.S.C. § 1692a, et seq.);
BONNEVILLE BILLING AND
COLLECTIONS, INC.,                               DEMAND FOR JURY TRIAL

              Defendant.
                                 I. INTRODUCTION

      1.      This is an action for damages brought by an individual consumer for

Defendant’s violations of the federal Fair Debt Collection Practices Act, 15 U.S.C. §

1692, et seq. (hereinafter “FDCPA”).

                                 II. JURISDICTION

      2.      Plaintiff’s claim for violations of the FDCPA arises under 15 U.S.C. §

1692k(d), and therefore involves a “federal question” pursuant to 28 U.S.C. § 1331.



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                                      III. PARTIES

       3.      Plaintiff, Crystal Behrens (“Plaintiff”), is a natural person residing in Ada

County, Idaho.

       4.      Defendant, Bonneville Billing and Collections, Inc. (“Defendant”) is a

corporation engaged in the business of collecting debts by use of the mails and telephone.

Defendant regularly attempts to collect debts alleged due another. Defendant is a foreign

company but purposely avails itself on a regular basis of the laws of Oregon by engaging

in debt collection activities in Oregon and filing lawsuits in the state of Oregon.

                            IV. FACTUAL ALLEGATIONS

       5.      Defendant is a “debt collector” as defined by the FDCPA, 15 U.S.C. §

1692a(6).

       6.      Plaintiff is a “consumer” as defined by the FDCPA, 15 U.S.C. § 1692a(3).

       7.      All activities of Defendant set out herein were undertaken in connection

with the collection of a “debt,” as defined by 15 U.S.C. § 1692a(5).

       8.      Within the last year, Defendant took multiple actions in an attempt to

collect a debt from Plaintiff. Defendant’s conduct violated the FDCPA in multiple ways,

including the following.

       9.      Failing to notify Plaintiff during each collection contact that the

communication was from a debt collector, including leaving voicemails without this

disclosure (§ 1692e(11)).

       10.     Using false representations or deceptive practices in connection with


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collection of a debt, including promising to accept $40 payments from Plaintiff in a

payment arrangement and reneging on that and telling Plaintiff only full payment of the

debt would be allowed (§ 1692e(10)).

       11.    As a result of the aforementioned violations, Plaintiff suffered and

continues to suffer injuries to Plaintiff’s feelings, personal humiliation, embarrassment,

mental anguish and severe emotional distress.

       12.    Defendant intended to cause, by means of the actions detailed above,

injuries to Plaintiff’s feelings, personal humiliation, embarrassment, mental anguish and

severe emotional distress.

       13.    Defendant’s actions, detailed above, were undertaken with extraordinary

disregard of, or indifference to, known or highly probable risks to purported debtors.

       14.    To the extent Defendant’s actions were carried out by an employee of

Defendant, that employee was acting within the scope of his or her employment.

   COUNT I: VIOLATION OF FAIR DEBT COLLECTION PRACTICES ACT

       15.    Plaintiff reincorporates by reference all of the preceding paragraphs.

       16.    The preceding paragraphs state a prima facie case for Plaintiff and against

Defendant for violations of the FDCPA, §§ 1692e(11) & 1692e(10).

                                PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully prays that judgment be entered against the

Defendant for the following:

       A.     Declaratory judgment that Defendant’s conduct violated the FDCPA;


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      B.      Actual damages pursuant to 15 U.S.C. 1692k;

      C.      Statutory damages pursuant to 15 U.S.C. § 1692k;

      D.      Costs, disbursements and reasonable attorney’s fees for all successful

claims, and any unsuccessful claims arising out of the same transaction or occurrence as

the successful claims, pursuant to 15 U.S.C. § 1692k; and,

      E.      For such other and further relief as may be just and proper.

               PLAINTIFF HEREBY REQUESTS A TRIAL BY JURY



                                               Dated this 25th day of October, 2018


                                                   By:__s/Joshua Trigsted _____
                                                   Joshua Trigsted
                                                   Trigsted Law Group, P.C.
                                                   5200 SW Meadows Rd, Ste 150
                                                   Lake Oswego, OR 97035
                                                   888-247-4126 ext. 1
                                                   866-927-5826 facsimile
                                                   Attorney for Plaintiff




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